        Case 1:94-cr-05011-LJO Document 637 Filed 05/06/09 Page 1 of 4


1

2

3

4

5

6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-94-5011 OWW
                                       )
10                                     )       ORDER DEEMING DEFENDANT'S
                                       )       OBJECTION TO COURT'S ORDER
11                   Plaintiff/        )       DATED APRIL 21, 2009 TO BE
                     Respondent,       )       MOTION FOR RECONSIDERATION
12                                     )       AND DENYING DEEMED MOTION
               vs.                     )
13                                     )
                                       )
14   LUIS ENRIQUE ESTRADA              )
     HERNANDEZ,                        )
15                                     )
                                       )
16                   Defendant/        )
                     Petitioner.       )
17                                     )
                                       )
18
          On April 20, 2009, Luis Enrique Estrada-Hernandez
19
     (“Petitioner”), proceeding in pro per, filed a second pleading
20
     captioned “Notice of Appeal of Final Sentence Pursuant to 18
21
     U.S.C. § [sic] 3742.”1    Petitioner asserted that he “wishes to
22
     appeal the illegal sentence imposed inviolation [sic] of the law
23

24
          1
           Petitioner filed a virtually identical pleading on January 5,
25   2009. The January 5, 2009 pleading was ordered stricken on January
     15, 2009.   It appears from the docket that Petitioner was not
26   served with the January 15, 2009 Order.

                                           1
        Case 1:94-cr-05011-LJO Document 637 Filed 05/06/09 Page 2 of 4


1    and as a result of the incorrect application of the guidelines,

2    pursuant to 18 § [sic] 3742(a).”        Petitioner asserted that the

3    Court has jurisdiction pursuant to Section 3742.

4         By Order filed on April 21, 2009, Petitioner’s pleading was

5    stricken.   The Court ruled:

6                Petitioner was found guilty by jury verdict
                 of conspiracy to manufacture and distribute
7                methamphetamine and of manufacturing
                 methamphetamine and aiding and abetting.
8                Petitioner was sentenced on October 10, 1995
                 to 290 months incarceration. Petitioner
9                appealed his conviction and sentence to the
                 Ninth Circuit. The Ninth Circuit affirmed
10               Petitioner’s conviction and sentence. See
                 United States v. Magallon, 124 F.3d 214 (9th
11               Cir.1997). Petitioner filed a motion to
                 vacate, set aside or correct sentence
12               pursuant to 28 U.S.C. § 2255 on March 25,
                 1998 (Doc. 517). Petitioner’s Section 2255
13               motion was denied by Order filed on September
                 17, 1998 (Doc. 531). A Certificate of
14               Appealability was denied by the Court on
                 January 4, 1999 (Doc. 543). The Ninth
15               Circuit denied a Certificate of Appealability
                 on March 18, 1999.
16
                 Petitioner cannot file an appeal from his
17               conviction and sentence pursuant to 18 U.S.C.
                 § 3742(a). Petitioner appealed his
18               conviction and sentence in 1995; the Ninth
                 Circuit affirmed in 1997.
19
                 Petitioner’s pleading cannot be construed as
20               a motion to vacate, set aside or correct
                 sentence pursuant to Section 2255. Because
21               Petitioner previously filed a Section 2255
                 motion, he cannot file a second or successive
22               Section 2255 with this Court ... absent prior
                 authorization by the Ninth Circuit Court of
23               Appeals.

24        On April 29, 2009, Petitioner filed a pleading captioned

25   “Objection to Court’s Order Dated April 21, 2009 and Motion to

26   Compel Compliance with Properly Filed § 3742.”         Petitioner

                                         2
        Case 1:94-cr-05011-LJO Document 637 Filed 05/06/09 Page 3 of 4


1    contends:

2                [T]his court does not have the jurisdiction
                 to rule on a properly filed § 3742 motion,
3                and its only function is to file and forward
                 the PSR, documents presented at sentencing,
4                and any documents designated as pertinent to
                 the court of appeals, ... [the court]
5                exceeded its authority in STRIKING the motion
                 filed on April 21, 2009 [sic], and as such
6                must VACATE its ORDER and comply with the
                 rules of § 3742, as promulgated by Congress
7                and the Commission, Pub. L 98-473 SRA 1984.

8         Petitioner’s objection and motion to compel are deemed to be

9    a motion for reconsideration of the April 21, 2009 Order.           So

10   deemed, Petitioner’s motion is DENIED.

11        18 U.S.C. § 3742(a) provides:

12               A defendant may file a notice of appeal in
                 the district court for review of an otherwise
13               final sentence if the sentence -

14                      (1) was imposed in violation of
                 law;
15
                      (2) was imposed as a result of an
16               incorrect application of the sentencing
                 guidelines; or
17
                      (3) is greater than the sentence
18               specified in the applicable guideline range
                 to the extent that the sentence includes a
19               greater fine or term of imprisonment,
                 probation, or supervised release that the
20               maximum established in the guideline range or
                 includes a more limiting condition of
21               probation or supervised release under section
                 3563(b)(6) or (b)(11) than the maximum
22               established in the guideline range; or

23                    (4) was imposed for an offense for
                 which there is no sentencing guideline and is
24               plainly unreasonable.

25        As noted, Petitioner has already filed an appeal to the

26   Ninth Circuit for review of his final sentence.         Petitioner has

                                         3
         Case 1:94-cr-05011-LJO Document 637 Filed 05/06/09 Page 4 of 4


1    also filed a motion for relief under 28 U.S.C. § 2255 and

2    unsuccessfully appealed the denial of his Section 2255 motion.

3    Petitioner is using the vehicle of Section 3742(a) to obtain

4    another collateral review of his sentence, i.e., a second or

5    successive challenge, without first obtaining leave to do so from

6    the Ninth Circuit.     See Jackson v. United States, 463 F.3d 635

7    (7th Cir.2006), cert. denied, 550 U.S. 937 (2007)(Federal

8    prisoner, who had previously sought to vacate, set aside or

9    correct sentence could not collaterally attack the imposition of

10   his sentence by filing a notice of appeal for review of his

11   sentence).

12         The objection is overruled.        Interpreted as a motion for

13   reconsideration, it is DENIED.       No further proceedings in the

14   District Court can be entertained without permission of the Court

15   of Appeals.

16   IT IS SO ORDERED.

17   Dated:   May 6, 2009                   /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26

                                          4
